Case 2:03-cV-02330-SHI\/|-ch Document 376 Filed 04/19/05 Page 1 of 5 Page|D 647

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IN THE UNITED STATES DISTRICT COURT "
FoR THE WESTERN DISTRICT oF TENNESSEE 55 3 3 3
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CLFPA Fl‘l'l" _"DJL: f to

vVD OFTN.MEMPH§
LECTROLAR.M CUSTOM SYSTEMS, INC~,

Plaintiff,
vs. NO. O3-2330-Ma/A
VICON INDUSTRIES , INC . , et al.

Defendants.

 

ORDER GRANTING LEAVE 'I‘O FILE REPLY

 

Before the court is defendant Vicon'S motion, filed April
lS, 2005, requesting leave to file a reply memorandum in Support
of its renewed motion to Stay action pending reexamination.

For good Cause Shown, Vicon'S motion is granted.

:T 13 so oRDERED this /qK<-lay cf April, 2005.

yy%_,`

SAMUEL H. MAYS, JR.
UNITED S"I‘ATES DISTRICT JUDGE

 

Thls document entered on the docket heat in co p|iance
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